Case 1:08-cr-00327-CG-B Document 697 Filed 05/18/10 Page 1 of 2                         PageID #: 2531




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION

 UNITED STATES OF AMERICA                             *
                                                      *          CRIMINAL NO. 08-00327-CG
 v.                                                   *
                                                      *
 JAMES A. ABERNATHY                                   *

                             FINAL JUDGMENT OF FORFEITURE

         WHEREAS, on October 15, 2009, a guilty plea was entered by Defendant, JAMES A.

 ABERNATHY, which guilty plea provided, inter alia, that the Defendant, JAMES A.

 ABERNATHY, would enter a plea of guilty to Count 1 and Count 197 of the Superseding

 Indictment, charging him with conspiracy to dispense and distribute anabolic steroids in

 violation of Title 21, United States Code, Section 846; and forfeiture in violation of Title 21,

 United States Code, Section 853. The defendant agreed in the guilty plea to immediately forfeit

 to the United States all of the defendant’s right, title, and interest to all property which is set

 forth in Count 197 of the Superseding Indictment and which is forfeitable to the United States

 pursuant to Title 21 United States Code, Section 853. Pursuant to that guilty plea the defendant

 also agreed to execute any and all paperwork to facilitate and expedite the forfeiture of the

 property and agreed and consented that the Order of Forfeiture in this case would become final

 as to the defendant at any time after the guilty plea and before his sentencing in accordance with

 Federal Rules of Criminal Procedure 32.2(b)(3). Pursuant to the guilty plea, Defendant, JAMES

 A. ABERNATHY, agreed to and confessed to forfeit the following property:

         (1) Drug proceeds in the amount of $5,000.00. (Five thousand dollars)


         WHEREAS, the United States properly published notice of the forfeiture of the above-

 described property and the requirements for filing a claim for the property for 30 consecutive
Case 1:08-cr-00327-CG-B Document 697 Filed 05/18/10 Page 2 of 2                     PageID #: 2532




 days starting February 23, 2010, on www.forfeiture.gov, A Proof of Publication was filed on

 March 25, 2010, (Doc. 670), specifying the details of this publication. No third-parties have

 come forward to assert an interest in the subject property in the time required under Title 21,

 United States Code, Section 853(n).

        NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED

 that the following property is forfeited to the United States of America pursuant to Title 21,

 United States Code, Sections 846 and 853, and Federal Rule of Criminal Procedure 32.2(b), for

 disposition according to law:

        (1) Drug proceeds in the amount of $5,000.00. (Five thousand dollars)

        IT IS FURTHER ORDERED that the United States shall retain jurisdiction in the case

 for the purpose of enforcing this Order; and

        IT IS FURTHER ORDERED that the Clerk of the Court shall forward two (2) certified

 copies of this Order to Assistant United States Attorney George F. May.



        DONE and ORDERED this 18th day of May, 2010.


                                                /s/ Callie V. S. Granade
                                                UNITED STATES DISTRICT JUDGE




                                                  2
